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   6 Attorneys for Defendants
     JASON BLAKE ROTRAMEL, BROKEN
   7 PROMISES CO., LLC, ZUMIEZ INC., and
     DOLLS KILL, INC.
   8                      UNITED STATES DISTRICT COURT
   9                                  CENTRAL DISTRICT OF CALIFORNIA
  10 MATTHEW MARKANSON,                                      Case No. 2:20-cv-00309-JFW-AFM
  11                          Plaintiff,                     DEFENDANTS’ ANSWER AND
                                                             AFFIRMATIVE DEFENSES TO
  12              vs.                                        COMPLAINT FOR COPYRIGHT
                                                             INFRINGEMENT
  13 JASON BLAKE ROTRAMEL, an
     individual; BROKEN PROMISES CO., JURY TRIAL DEMANDED
  14 LLC, a California limited liability
     company; ZUMIEZ INC., a Washington
  15 corporation; DOLLS KILL, INC, a
     Delaware corporation; and DOES 1
  16 through 10,
  17                          Defendants.
  18
  19             Defendants JASON BLAKE ROTRAMEL, BROKEN PROMISES CO.,
  20 LLC, ZUMIEZ INC., and DOLLS KILL, INC. (“Defendants”), by and through their
  21 attorneys, Rutan & Tucker, LLP, answer the complaint of plaintiff MATTHEW
  22 MARKANSON (“Plaintiff”) as follows:
  23                                                  ANSWER
  24                                        JURISDICTION AND VENUE
  25             1.           Defendants admit that Plaintiff purports to assert a claim under the
  26 Copyright Act. Except as expressly admitted herein, Defendants deny the
  27 allegations of paragraph 1 of the Complaint.
  28             2.           Defendants admit that this Court has subject matter jurisdiction over

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                                                                   DEFENDANTS’ ANSWER TO COMPLAINT
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   1 the claim asserted by Plaintiff. Except as expressly admitted herein, Defendants
   2 deny the allegations of paragraph 2 of the Complaint.
   3             3.           Defendants deny the allegations of paragraph 3 of the Complaint.
   4                                                  PARTIES
   5             4.           Defendants lack information and belief sufficient to allow them to
   6 admit or deny the allegations of paragraph 4 of the Complaint, and on that basis
   7 deny such allegations.
   8             5.           Defendants deny the allegations of paragraph 5 of the Complaint.
   9             6.           Defendants admits that Mr. Rotramel is the owner of Broken Promises.
  10 Except as expressly admitted herein, Defendants deny the allegations of paragraph 6
  11 of the Complaint.
  12             7.           Defendants admit that Zumiez Inc. is a corporation organized and
  13 existing under the laws of Washington and uses the referenced address. Except as
  14 expressly admitted herein, Defendants deny the allegations of paragraph 7 of the
  15 Complaint.
  16             8.           Defendants admit that Dolls Kill, Inc. is a corporation organized and
  17 existing under the laws of Delaware and uses the referenced address. Except as
  18 expressly admitted herein, Defendants deny the allegations of paragraph 8 of the
  19 Complaint.
  20             9.           Defendants lack information and belief sufficient to allow them to
  21 admit or deny the allegations of paragraph 9 of the Complaint, and on that basis
  22 deny such allegations.
  23             10.          Defendants deny the allegations of paragraph 10 of the Complaint.
  24                           INFRINGEMENT OF “FLIRTING WITH DEATH”
  25             11.          Defendants deny the allegations of paragraph 11 of the Complaint.
  26             12.          Defendants deny the allegations of paragraph 12 of the Complaint.
  27             13.          Defendants lack information and belief sufficient to allow them to
  28 admit or deny the allegations of paragraph 13 of the Complaint, and on that basis

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   1 deny such allegations.
   2                                       FIRST CLAIM FOR RELIEF
   3               (For Copyright Infringement – Against All Defendants, and Each)
   4             14.          Defendants incorporate by reference paragraphs 1 through 13 inclusive
   5 as set forth above.
   6             15.          Defendants deny the allegations of paragraph 15 of the Complaint.
   7             16.          Defendants deny the allegations of paragraph 16 of the Complaint.
   8             17.          Defendants deny the allegations of paragraph 17 of the Complaint.
   9             18.          Defendants deny the allegations of paragraph 18 of the Complaint.
  10             19.          Defendants deny the allegations of paragraph 19 of the Complaint.
  11             20.          Defendants deny the allegations of paragraph 20 of the Complaint.
  12                                        AFFIRMATIVE DEFENSES
  13                                    FIRST AFFIRMATIVE DEFENSE
  14                                     (Failure to State a Claim for Relief)
  15             21.          The Complaint and the purported claim for relief alleged therein fail to
  16 state facts sufficient to constitute any claim for relief.
  17                                   SECOND AFFIRMATIVE DEFENSE
  18                                           (Innocent Infringement)
  19             22.          To the extent Defendants infringed any copyright belonging to
  20 Plaintiff, which Defendants deny, such infringement was innocent.
  21                                    THIRD AFFIRMATIVE DEFENSE
  22                                  (Lack of Copyrightable Subject Matter)
  23             23.          Plaintiff’s claimed work is not copyrightable subject matter.
  24                                   FOURTH AFFIRMATIVE DEFENSE
  25                                                   (Fair Use)
  26             24.          Any use of Plaintiff’s design constituted fair use.
  27
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   1                                    FIFTH AFFIRMATIVE DEFENSE
   2                                             (Failure to Mitigate)
   3             25.          To the extent Plaintiff suffered or is entitled to any damages at all,
   4 Plaintiff failed to mitigate his damages.
   5                                    SIXTH AFFIRMATIVE DEFENSE
   6                                               (Unclean Hands)
   7             26.          Plaintiff’s claim is barred by the doctrine of unclean hands.
   8                                  SEVENTH AFFIRMATIVE DEFENSE
   9                                             (Breach of Contract)
  10             27.          Plaintiff previously entered into an enforceable agreement with
  11 Defendants regarding the resolution of Plaintiff’s claims that are asserted in this
  12 lawsuit. Plaintiff’s filing of this lawsuit constitutes a breach of that agreement and
  13 precludes Plaintiff from obtaining any of the relief requested in this action.
  14                                   EIGHTH AFFIRMATIVE DEFENSE
  15                                                    (Offset)
  16             28.          To the extent Plaintiff is entitled to any amounts, such amounts should
  17 be reduced and offset by the damages Defendants have suffered as a result of
  18 Plaintiff’s breach of the agreement resolving Plaintiff’s claims.
  19                                    NINTH AFFIRMATIVE DEFENSE
  20                                                    (Waiver)
  21             29.          Plaintiff’s claim is barred by the doctrine of waiver.
  22                                    TENTH AFFIRMATIVE DEFENSE
  23                                                    (Release)
  24             30.          Plaintiff’s claim is barred because he released Defendants from the
  25 claims he is asserting in this case.
  26                                 ELEVENTH AFFIRMATIVE DEFENSE
  27                                                   (Estoppel)
  28             31.          Plaintiff’s claim is barred by the doctrine of estoppel, including

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   1 promissory estoppel.
   2                                  TWELFTH AFFIRMATIVE DEFENSE
   3                                              (Improper Venue)
   4             32.          The Central District of California, Western Division, is not the proper
   5 venue for this matter.
   6                                        ADDITIONAL DEFENSES
   7             33.          Defendants allege that there may be additional affirmative defenses to
   8 Plaintiff’s alleged claim for relief which are currently unknown to Defendants.
   9 Defendants reserve the right to amend this Answer to allege additional affirmative
  10 defenses in the event discovery or other information indicates they are appropriate.
  11                                                  PRAYER
  12             WHEREFORE, Defendants pray for the following relief on their Answer to
  13 the Complaint:
  14                          a.    That Plaintiff take nothing by his Complaint, and that the
  15             Complaint be dismissed with prejudice and judgment be entered in
  16             Defendants’ favor;
  17                          b.    That Defendants be awarded costs of suit herein;
  18                          c.    That Defendants be awarded their attorneys’ fees
  19             pursuant to all applicable statutes and otherwise, including the
  20             Copyright Act and as damages for Plaintiff’s breach of contract; and
  21                          d.    Such other and further relief as this Court deems just and
  22             proper.
  23 Dated: February 14, 2020                              RUTAN & TUCKER, LLP
                                                           RONALD P. OINES
  24                                                       FRANCISCO NAVARRO
  25
                                                           By:        /s/ Ronald P. Oines
  26                                                                      Ronald P. Oines
                                                                 Attorneys for Defendants JASON
  27                                                             BLAKE ROTRAMEL, BROKEN
                                                                 PROMISES CO., LLC, ZUMIEZ
  28                                                             INC., and DOLLS KILL, INC.

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   1                               DEMAND FOR JURY TRIAL
   2             Defendants hereby demand a trial by jury.
   3 Dated: February 14, 2020                      RUTAN & TUCKER, LLP
                                                   RONALD P. OINES
   4
   5                                               By:        /s/ Ronald P. Oines
                                                         Ronald P. Oines
   6                                                     Attorneys for Defendants
                                                         JASON BLAKE ROTRAMEL,
   7                                                     BROKEN PROMISES CO., LLC,
                                                         ZUMIEZ INC., and DOLLS KILL,
   8                                                     INC.
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